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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

     v.                                                Criminal No. 1:07cr6
 SAMANTHA LORETTA,
               Defendant.

                                        ORDER/OPINION

        On the 12th day of December 2012, came the defendant, Samantha Loretta, in person for

 an Initial Appearance pursuant to a Petition for Warrant or Summons for Offender Under Supervision

 filed in this case on November 27, 2012, alleging Defendant violated conditions of her supervised

 release as follows:

 1.     Violation of Mandatory Condition: The defendant shall not unlawfully possess a controlled
        substance. The defendant shall refrain from any unlawful use of a controlled substance. The
        defendant shall submit to one drug test within 15 days of release from imprisonment and at
        least two periodic drug tests thereafter, as determined by the court.

 2.     Violation of Standard Condition: The defendant shall refrain from excessive use of alcohol
        and shall not purchase, possess, use, distribute, or administer any controlled substance or any
        paraphernalia related to any controlled substances, except as prescribed by a physician.

 3.     Violation of Mandatory Condition: The defendant shall not unlawfully possess a controlled
        substance. The defendant shall refrain from any unlawful use of a controlled substance. The
        defendant shall submit to one drug test within 15 days of release from imprisonment and at
        least two periodic drug tests thereafter, as determined by the court.

 4.     Violation of Standard Condition: The defendant shall refrain from excessive use of alcohol
        and shall not purchase, possess, use, distribute, or administer any controlled substance or any
        paraphernalia related to any controlled substances, except as prescribed by a physician.

 5.     Violation of Mandatory Condition: The defendant shall not unlawfully possess a controlled
        substance. The defendant shall refrain from any unlawful use of a controlled substance. The
        defendant shall submit to one drug test within 15 days of release from imprisonment and at
        least two periodic drug tests thereafter, as determined by the court.

 6.     Violation of Standard Condition: The defendant shall refrain from excessive use of alcohol
        and shall not purchase, possess, use, distribute, or administer any controlled substance or any
        paraphernalia related to any controlled substances, except as prescribed by a physician.
 7.     Violation of Mandatory Condition: The defendant shall not unlawfully possess a controlled
        substance. The defendant shall refrain from any unlawful use of a controlled substance. The
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        defendant shall submit to one drug test within 15 days of release from imprisonment and at
        least two periodic drug tests thereafter, as determined by the court.

 8.     Violation of Standard Condition: The defendant shall refrain from excessive use of alcohol
        and shall not purchase, possess, use, distribute, or administer any controlled substance or any
        paraphernalia related to any controlled substances, except as prescribed by a physician.


        Defendant was advised of her rights, including her right to a Preliminary Hearing. A

 Preliminary Hearing was scheduled for December 18th, 2012. On December 17, 2012, Defendant

 filed a Waiver of Preliminary Hearing, signed by Defendant and her counsel.

        Upon consideration of all which, the Court finds there is probable cause to believe that the

 defendant violated the conditions of her supervised release as alleged in the Petition for Warrant or

 Summons for Offender Under Supervision filed November 27, 2012. It is therefore ORDERED that

 the defendant be bound over for a full hearing before the Honorable Irene M. Keeley, United States

 District Judge for the Northern District of West Virginia on the violations alleged in the Petition for

 Warrant or Summons for Offender Under Supervision filed November 27, 2012.

        Defendant is continued on release pursuant to Conditions of Supervised Release previously

 entered in this matter.

        The Preliminary Hearing previously scheduled for December 18, 2012, at 1:00 p.m. is hereby

 CANCELED.

        It is so ORDERED.

        The clerk of the court is directed to send a copy of this order to counsel of record.

        DATED: December 17, 2012.
                                                        John S. Kaull
                                                        JOHN S. KAULL
                                                        UNITED STATES MAGISTRATE JUDGE
